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                                                  March 28, 2024
The Honorable J.P. Stadtmueller
United States District Judge
United States Courthouse
517 East Wisconsin Avenue
Milwaukee, WI 53202

       Re:    United States of America v. Kevin P. O’Neill
              Case No.: 97-CR-98

Dear Judge Stadtmueller:

        The purpose of this letter is to provide, in connection with the defendant’s pending
motion under Section 3582(c)(1)(A), supplemental authority in further support of the
government’s position that non-retroactive changes in the law cannot be deemed
“extraordinary and compelling” for purposes of the statute, notwithstanding newly-
amended Guideline Section 1B1.13(b)(6). In United States v. Black, 2024 WL 449940 (N.D.
Ill. Feb. 6, 2024), U.S. District Judge Lindsay C. Jenkins concluded that the Seventh
Circuit’s decision in United States v. Thacker, 4 F.4th 569 (7th Cir. 2021), rather than the
amended guideline, is controlling on this question. Although the government does not
agree with Judge Jenkins that Section 3582(c) is ambiguous, such that “Chevron deference”
analysis is necessary, the government does agree with the bottom line in Black, which is
that Thacker is binding on district courts in this circuit.

      Thank you for considering this supplemental authority in connection with
defendant’s pending motion.

                                                  Very truly yours,

                                                  GREGORY J. HAANSTAD
                                                  United States Attorney

                                           By:    s/Jonathan H. Koenig

                                                  JONATHAN H. KOENIG
                                                  Assistant United States Attorney
JHK/lil

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